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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                     :
Kimberly McCue,                      :
                                     :
                                     : Civil Action No.: 3:10-cv-01710-PCD
                 Plaintiff,          :
       v.                            :
                                     :
FirstSource Advantage, LLC; and DOES :
1-10, inclusive,                     :
                                     :
                 Defendant.          :


          NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITH PREJUDICE
                        PURSUANT TO RULE 41(a)


       Kimberly McCue (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed.
R. Civ. P. 41(a)(1)(A)(i).


Dated: December 21, 2010

                                          Respectfully submitted,

                                          PLAINTIFF, Kimberly McCue

                                          /s/ Sergei Lemberg

                                          Sergei Lemberg, Esq.
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                           CERTIFICATE OF SERVICE

      I hereby certify that on December 21, 2010, a true and correct copy of the
foregoing Notice of Withdrawal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By_/s/ Sergei Lemberg_________

                                           Sergei Lemberg
